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                         EXHIBIT “D”
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                                                            1524 Locust Street          * Admitted to the New Jersey Bar
Bochetto
                                  George Bochetto'*'''
                                  Gavin P. Lentz*           Philadelphia, PA 19102      t Admitted to the New York Bar
                                  Jeffrey W. Ogren*         215-735-3900                ■ Admitted to the the Virginia Bar
                                  David P. Heim*            Fax: 215-735-2455           '' Admitted to the D.C. Bar
                                  Vincent van Laar*                                     ■ Admitted to the Florida Bar
                                  Bryan R. Lentz*           141 Highstreet
                                  John A. O’Connell*        Mt. Holly, NJ 08060          PRACTICE DEDICATED
                                  Peter R. Bryant*          856-722-9595                 TO LITIGATION AND
                                  Kiersty DeGroote*
                                                            Fax: 856-722-5511            NEGOTIATION MATTERS
                                  Kean C. Maynard*
                                  Matthew L. Minsky'**'
                                                            bochettoandlentz.com

Gavin P. Lentz                    Albert M. Belmont, 111*
Attorney at Law                   Cynthia A. Clark
glentz@bochettoandlentz.com       of Counsel                ***Ptease send all Mail to the Philadelphia Office***




                                                 April 5, 2022

 Via Email: spscunsio&^^scunsioborst. com
 Scott Scungio
 Scungio Borst & Associates
 2 Riverside Drive
 Suite 500
 Camden, NJ 08103

         Re:      Scungio-Borst v. KPG, et al

Dear Scott:

        Allow this to confirm that Bochetto & Lentz, P.C. (“B&L”) as a result of the bankruptcy
filing of Scungio Borst & Associates LLC, also doing business as Scungio-Borst Construction
Management (the “Debtor”) on March 11, 2022 (the “Petition Date”), we are revising our fee
agreement with the Debtor dated May 31, 2019 (the “Fee Agreement”) with respect to the state
court litigation commenced by the Debtor in the Court of Common Pleas of Philadelphia County,
Pennsylvania, captioned: Scungio Borst & Associates, LLC v. KPG-MCG Curtis Tenant, LLC,
and DAS Architects, Inc., C.C.P. Phila. Cty,. February Term, 2019, No. 190200666 (the “State
Court Litigation”).

       As you know, we have already expanded over $1 million dollars in attorney time thus far.
We understand that the bankruptcy filing and the Debtor’s financial condition prevents it from
continuing to pay our monthly retainer.

        As a result of these circumstances, we are agreeing to modify the Fee Agreement as set
forth herein. We will agree to work on a contingent fee basis of 20% of any funds recovered (the
“Contingent Fee”). The Debtor and its estate shall be responsible to pay directly, upon request,
all post-petition out of pocket costs and expenses incurred in connection with the engagement,
including, but not limited to, costs and expenses for filing fees, expert fees, postage, court reporters,
transcripts, and photocopying (the “Costs and Expenses”). The Costs and Expenses are not
covered by the Contingent Fee and are in addition to the Contingent Fee.
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BOCHETTO & LENTZ, P.C.
April 5, 2022
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        We shall also retain our existing claim in the amount of $31,550.45 for unpaid litigation
costs for experts, depositions, and expenses as of the Petition Date (the “Unpaid Costs”) and
expect that the Unpaid Costs will be paid from the gross recovery of the State Court Litigation.

         After all discovery is completed and all expert reports have been exchanged, we reserve
the right to seek a modification of this fee agreement and reserve the right to withdraw as counsel
for the Debtor, if either any post-petition Costs and Expenses are not timely paid or, new fee
terms cannot be mutually agreed to. In such case, you agree not to oppose our withdrawal as
special counsel for the Debtor. It is understood that B&L’s right to withdraw as special counsel
in the event Costs and Expenses are not timely paid was a material consideration in entering into
this agreement.

        The Debtor and B&L acknowledge and agree that the Fee Agreement and this amendment
shall be submitted for the approval of the Bankruptcy Court as part of an application to employ
B&L as special counsel. In the event that the Bankruptcy Court does not approve this amendment
to the Fee Agreement, then it shall be rendered null and void, and B&L shall have no obligation
to represent the Debtor.



                                                 Very truly yours,

                                                 BOCHETTO & LENTZ, P.C.

                                                       /s/ Gavin P. Lentz
                                                 By:________________________
                                                       Gavin P. Lentz, Esquire
GPL/qjg
